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   IT IS ORDERED as set forth below:



   Date: June 5, 2018
                                                _________________________________

                                                           Sage M. Sigler
                                                    U.S. Bankruptcy Court Judge

  ________________________________________________________________



                IN THE UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

                                    )
IN RE:                              )     CHAPTER 7
                                    )     CASE NO. 15-64213-sms
KIMBERLY MARIE CRAIG.               )
      Debtor,                       )
___________________________________ )
                                    )
VALERIE MCELWANEY,                  )
ESTATE OF ED MORRIS MILES           )
                                    )
             Movant,                )     CONTESTED MATTER
                                    )
v.                                  )
                                    )
KIMBERLY MARIE CRAIG, Debtor        )
                                    )
             Respondent.            )
                                    )
____________________________________)___________________________________


                                    Consent Order
                    Granting Motion to Enforce Settlement Agreement
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                                    PROCEDURAL BACKGROUND



   1. Debtor filed this Chapter 7 Bankruptcy (the “Bankruptcy”) on July 30, 2015 (the

“Petition Date”).

   2. Creditor Edward Morris Miles (“Miles”) has alleged various claims and causes of action

against Debtor and against the property of the estate. Among these are claims brought in the

Superior Court of Henry County in case No. 14-CV-3036 AM (the “Henry County Lawsuit”)

which is still pending.

   3. Miles has filed a Motion for Relief from Stay (Doc. No. 76) pending before this Court, in

which he seeks to lift the stay so that Miles can continue to prosecute the Henry County Lawsuit.

   4. Debtor and Miles have reached an agreement as to all outstanding issues, which was

documented in a settlement agreement (the “Settlement Agreement”). Among other items, the

Settlement Agreement required Miles to pay $40,000.00 to the bankruptcy trustee for Debtor’s

estate, and to dismiss the Henry County Lawsuit. The Settlement Agreement also required

Debtor to execute a quitclaim deed in favor of Miles for his single-family residence located at

4730 Stillwood Cove, Forest Park, GA 30297 (the “House”), and to transfer all of her interest in

his stock trading account at ScotTrade.

   5. The parties agreed to the material terms of the Settlement Agreement and Miles executed

the Settlement Agreement. In reliance on the agreement, Miles requested that ScotTrade transfer

$40,000 to the bankruptcy trustee. This transfer was contemplated in this Court’s Order dated

April 13, 2017 (Doc. No. 98) which approved and authorized the transfer.
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   6. On May 1, 2017, after the request to transfer the funds, but before Debtor had executed

the Settlement Agreement, Miles fell, sustained a stroke, and entered an irreversible coma.

Miles passed away on May 9, 2017, one day after ScotTrade delivered the $40,000 to the trustee.

   7. On June 9, 2017 Debtor delivered an executed copy of the Settlement Agreement, along

with an executed, witnessed and notarized copy of the quitclaim deed for the House (the

“Quitclaim Deed”). Despite numerous requests, Debtor did not turn over the original Quitclaim

Deed, and Georgia law does not allow the recording of a copy of the Quitclaim Deed.

   8. On March 13, 2018, Miles’ daughter Valerie Mcelwaney (along with daughter Sheree

Nash, referred to as “Daughters”) filed the instant Motion to Enforce Settlement Agreement (this

“Motion”) (Doc. No. 107). The purpose of the Motion was to request this Court to order Debtor

to deliver the original Quitclaim Deed.

   9. Miles’ decedent’s estate has been opened in the Probate Court for Clayton County as case

number 2017-0697 (the “Probate Action”). The judge in the Probate Action has appointed Ms.

Jillian Todd (“Temporary Administrator”) to act as temporary administrator for the estate,

pending trial and resolution of all disputed matters. Temporary Administrator has joined in this

Motion (Doc. No. 118).

   10. A hearing was held on May 23, 2018. Movant/Daughters were represented by Howard

P. Slomka, Esq., Debtor was represented by J. Chad Brannen, Esq., and Temporary

Administrator was represented by Charles M. Clapp, Esq.     All parties were served and appeared

prepared to present evidence as needed. After oral argument, the parties were able to reach a

consensual resolution that is memorialized in this Consent Order.



                                          AGREEMENT
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   11. Within two (2) business days after the entry of this Order, Debtor shall deliver to

Debtor’s counsel: (i) the original Quitclaim Deed, (ii) all keys to the House, (iii) all codes and

access authorization for alarm and camera equipment to Debtor’s counsel. Debtor’s counsel

shall deliver all such items to the Temporary Administrator within two business days after

receipt. Temporary Administrator shall hold the original Quitclaim Deed until further order of

the probate court.

   12. The parties consent to jurisdiction and authorize the probate court to fully hear and

resolve all matters related to the Settlement Agreement and this Consent Order as it relates to the

Debtor, Debtor’s property and all other matters related to the Probate Action; and relief from stay

is granted as to the Debtor for all purposes related to the Probate Action, especially with regard

to determining the assets in the probate estate.

   13. Daughters shall deliver all keys to the House to Howard Slomka within two (2) business

days after the entry of this Order. Mr. Slomka shall deliver all such items to Temporary

Administrator within two (2) business days after his receipt.

   14. Temporary Administrator, acting on behalf of the probate estate, shall have sole and

absolute use, possession and control of the House. Neither Debtor nor Daughters, nor their

agents, shall approach or enter the House without the prior consent of the Temporary

Administrator.

   15. Any personal property may be retrieved from the House only with the consent of the

Temporary Administrator, to be coordinated with Temporary Administrator and with notice to

Debtor and Daughters.

   16. Debtor will keep all utilities in her name until administration of the Miles probate estate,

but Temporary Administrator shall reimburse promptly upon receipt of invoices from utility
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companies, beginning June 1, 2018. To the extent that utilities are disconnected, Temporary

Administrator shall have the right to re-connect.

   17. All financial accounts previously belonging to Miles shall remain frozen and off limits to

Debtor and Daughters. No funds shall be removed other than by the Temporary Administrator.

All funds necessary to the administration of the estate shall come from cash bank accounts first

and secondly from the ScotTrade account, but only up to $10,000.00 in aggregate.

   18. Upon resolution of these matters, the probate estate shall release its rights to the Henry

County Lawsuit and to Debtor’s real property in Henry County.

   19. Temporary Administrator and/or a representative of the Miles probate estate shall meet at

Debtor’s home to review and inspect all personal property of Miles, and to remove or discard

items at the expense of the Estate. Any uncertainty as to ownership of personal property shall

be resolved by the Probate Court.
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       It is THEREFORE ORDERED that

              The Motion is GRANTED as described herein.

       It is FURTHER ORDERED that the parties to this Consent Order shall comply with the

terms and agreement as outlined above.

Drafted by:

___________________/s/
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Consented to by:
___________________/s/
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Consented to by:
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DISRIBUTION LIST:                   See attached list of interested parties.
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